                                                                                        FILED
                            UNITED STATES DISTRICT COURT                           IN OPEN cr» IRT
                            EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division
                                                                                  JUL 1 8 2025
                                                                            CLERKTua
UNITED STATES OF AMERICA


V.                                                           ACTION NO. 2:25cr3


BRAD KENNETH SPAFFORD.


                       Defendant.




                            REPORT AND RECOMMENDATION
                               CONCERNING GUILTY PLEAS


       'fhe defendant, by consent, has appeared before the undersigned United Slates Magistrate

Judge pursuant to Federal Rule of Criminal Procedure 11, and referral from a United States District

Judge and has entered a plea of guilty to counts one and two of the indictment. After cautioning

and examining the defendant under oath concerning each of the subjects mentioned in Rule 11, the

undersigned determined that the defendant is competent, and fully informed of the nature of the

charges, including the prescribed penalties. The inquiry, as set forth in the record, confirmed that

defendant’s guilty pleas were knowledgeable and voluntary, not the result of force, threats, or

promises other than the Government’s representations in any written plea agreement.             The

statement of facts to which defendant attested confirms the offenses charged are supported by an


independent basis in fact establishing each of the essential elements of such offenses. Accordingly,

the undersigned recommends that the guilty pleas be accepted.

                                            NOTICE


       The defendant is advised that he may file specific written objections to this report and

recommendation with the court within fourteen (14) days of the date noted below. If objections
are noted, the party objecting must promptly arrange for the transcription of the relevant record

and file it forthwith with the court for its use in any review.   Failure to object in accordance with

this notice, including the requirement for preparation of a transcription of the relevant portions of

the record, will constitute a waiver of any right to de novo review of the matter and may result in

adoption of the recommendation, including acceptance of the pleas as recommended by the report

and adjudication of guilt based on the pleas.

       The Clerk is directed to deliver a copy of this report and recommendation to counsel for

the United States and to counsel for the defendant.




                                                                   Robe« J. Krask
                                                      UNITED STATES MAGISTRATE JUDGE




Norfolk, Virginia
July 18,2025




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